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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF PUERTO RICO


  In Re:

  PHILIP COPELAND STORY                                    CASE NO. 16-08822 (EAG)

     Debtor                                                Chapter 7
  _____________________________
                                                           ADVERSARY NO. 16-00257
  PHILIP COPELAND STORY

     Plaintiff

                 v.

  UNITED STATES, et al.

     Defendants


                         MOTION FOR DISCHARGE OF DEBT,
                      DISMISSAL OF ADVERSARY PROCEEDING
                      AND TO VACATE PRETRIAL CONFERENCE
TO THE HONORABLE COURT:

       COMES NOW Defendant, the United States of America (Department of Education),

through undersigned counsel, and respectfully states and prays:

       1.        Plaintiff/Debtor filed an Amended Complaint praying for the discharge of his

federal student loan debt because of undue hardship. (ECF No. 24.)

       2.        After examining, researching and analyzing the discovery performed in this case,

the United States hereby acquiesces to the discharge of the debt that Debtor/Plaintiff has with the

Department of Education.

       3.        Insofar as there is no controversy in this case, the United States requests that this

Adversary Proceeding be dismissed and that the Pretrial Conference scheduled for July 26, 2018
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be vacated.

       WHEREFORE the United States respectfully prays this Honorable Court to dismiss the

instant Amended Complaint and to vacate the Pretrial Conference scheduled for July 26, 2018.

        I HEREBY CERTIFY that I electronically filed the foregoing with the Clerk of the Court

using the CM/ECF System that will send notification of such filing to Debtor/Plaintiff and to

counsel of record.

       RESPECTFULLY SUBMITTED in San Juan, Puerto Rico this 23rd day of July 2018.

                                                  Rosa Emilia Rodríguez-Vélez
                                                  United States Attorney

                                                  S/Lisa E. Bhatia Gautier
                                                  Lisa E. Bhatia Gautier
                                                  Assistant U.S. Attorney #206014
                                                  Torre Chardon, Suite 1201
                                                  350 Calle Chardón
                                                  San Juan, Puerto Rico 00918
                                                  Tel. 787.766.5656 Fax: 787.766.5193
                                                  E-mail: lisa.bhatia@usdoj.gov
